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      APPEARANCE SHEET FOR HEARING BEFORE
                  JUDGE ISGUR
               Monday, May 9, 2022
First Name   Last Name           Firm Name                      Client Name

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Laura        Krucks              Winston & Strawn LLP           Debtors
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